Case 3:21-cv-00663-DJN-MRC Document 1 Filed 10/20/21 Page 1 of 5 PageID# 1
Case 3:21-cv-00663-DJN-MRC Document 1 Filed 10/20/21 Page 2 of 5 PageID# 2
Case 3:21-cv-00663-DJN-MRC Document 1 Filed 10/20/21 Page 3 of 5 PageID# 3
Case 3:21-cv-00663-DJN-MRC Document 1 Filed 10/20/21 Page 4 of 5 PageID# 4
Case 3:21-cv-00663-DJN-MRC Document 1 Filed 10/20/21 Page 5 of 5 PageID# 5
